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  9   PATAGONIA PROVISIONS, INC.
 10
 11                          UNITED STATES DISTRICT COURT
 12                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 13                        WESTERN DIVISION – LOS ANGELES
 14   PATAGONIA, INC. and                            Case No. 2:19-cv-02702-VAP (JEMx)
      PATAGONIA PROVISIONS, INC.,
 15                                                  FIRST AMENDED COMPLAINT
                       Plaintiffs,                   FOR TRADEMARK
 16                                                  INFRINGEMENT, UNFAIR
            v.                                       COMPETITION, DILUTION,
 17                                                  FRAUD, AND JUDICIAL
      ANHEUSER-BUSCH, LLC dba                        DECLARATION THAT
 18   PATAGONIA BREWING CO.,                         TRADEMARK REGISTRATION
                                                     IS VOID (INJUNCTIVE RELIEF
 19                    Defendant.                    SOUGHT)
 20                                                  JURY TRIAL DEMAND
 21
 22                                      INTRODUCTION
 23         1.     In 2012, Anheuser-Busch LLC (“AB”) submitted false evidence to
 24   the Trademark Office to unlawfully obtain a trademark for PATAGONIA on beer.
 25   After letting its fraudulently obtained trademark registration lie unused for six years,
 26   AB recently adopted the fictitious business name “Patagonia Brewing Co.” and
 27   launched an intensive marketing campaign to “introduce” its PATAGONIA beer
 28   to American consumers.


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  1         2.     AB’s new beer bottle employs a logo including PATAGONIA beneath
  2   a mountain silhouette, shown below (“AB’s PATAGONIA logo”).
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 15   AB recently launched its new beer at ski resorts in Colorado, where its sales people
 16   dressed in black down jackets with AB’s PATAGONIA logo on the chest and gave
 17   out beanies, scarves, and t-shirts all bearing the same PATAGONIA logo. At the
 18   ski resorts, AB set up what looks like a pop-up store, including a booth made of
 19   what AB called out to be reclaimed wood, featuring a large PATAGONIA logo
 20   sign and a placard describing “Patagonia’s ‘tree positive’ mission.” Customers
 21   were told AB will plant one tree for every case of beer purchased.
 22         3.     In launching its PATAGONIA beer and adopting the “Patagonia
 23   Brewing Co.” name, AB deliberately has misappropriated the tremendous goodwill
 24   that Patagonia, Inc. and Patagonia Provisions, Inc. (together, “Patagonia” or
 25   “Plaintiffs”) have cultivated in their brand, and cooped the hard-earned reputation
 26   that Patagonia, Inc. has built over the last forty years as a company dedicated to
 27   environmental conservation. AB has gone as far as creating a logo that is strikingly
 28   similar to Patagonia’s famous mountain silhouette logo that has appeared


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  1   continuously for decades on millions of PATAGONIA branded products. AB has
  2   tried to connect its beer with environmental conservation by claiming to plant a
  3   tree for each case of beer sold, an initiative that Patagonia would welcome but for
  4   the fact that AB is clearly attempting to copy Patagonia’s famous brand identity
  5   to confuse consumers. AB has launched its copycat brand at ski resorts where
  6   Patagonia, Inc.’s ski apparel is widely used and universally recognized in further
  7   attempts to draft off Patagonia’s goodwill. And AB has dressed its sales people
  8   in down jackets and given out beanies, t-shirts, and scarves bearing AB’s
  9   PATAGONIA logo—all products that Patagonia sells, including in its stores in
 10   the very towns where AB has launched its beer. In short, AB has done everything
 11   possible to make it appear as though this PATAGONIA beer is sold by Patagonia.
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 19         4.     AB’s effort to look and feel like Patagonia is all the more confusing
 20   because Patagonia started a food business in 2012 called Patagonia Provisions, Inc.
 21   (“Provisions”), which was formed to challenge a broken food industry increasingly
 22   dependent on pesticides, chemicals, and emitting massive amounts of greenhouse
 23   gases. Provisions released its first beer in collaboration with New Belgium Brewing
 24   Co. in 2013, and has been selling its own Long Root beer since 2016 using a
 25   perennial grain called Kernza® instead of traditional barley. Kernza has long roots
 26   that store carbon in the ground and using it in beer has served as an effective vehicle
 27   for Patagonia to introduce customers to carbon sequestration as a means of
 28   removing greenhouse gases from our atmosphere.


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 14         5.     Patagonia is filing this lawsuit to stop AB from maintaining its
 15   unlawful trademark registration, from selling PATAGONIA beer, and to prevent
 16   AB from going to such great lengths to pass itself off as Patagonia, all of which
 17   infringes, dilutes, and usurps the goodwill in Patagonia’s famous PATAGONIA
 18   trademarks, as well as the reputation it has built over the last four decades.
 19                       PARTIES, JURISDICTION, AND VENUE
 20         6.     Patagonia, Inc. is a California corporation headquartered at 259 West
 21   Santa Clara Street, Ventura, California 93001. For more than forty years, Patagonia,
 22   Inc. has been designing, developing, marketing, and retailing outdoor apparel,
 23   sportswear, and related products. For many years, Patagonia, Inc. and the
 24   PATAGONIA® brand have been famous in the United States and around the world
 25   for innovative apparel designs, quality products, and environmental and corporate
 26   responsibility.
 27         7.     Patagonia, Inc. was founded in the late 1960s to design and sell
 28   climbing clothes and other active sportswear. The company adopted the brand


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  1   “PATAGONIA” to differentiate another business that designed and manufactured
  2   climbing gear and tools. PATAGONIA was chosen as the trademark to call to mind
  3   romantic visions of glaciers tumbling into fjords, jagged windswept peaks, gauchos,
  4   and condors. Since at least 1973, the PATAGONIA brand has appeared on a multi-
  5   colored label inspired by a silhouette of the jagged peaks of the Mt. Fitz Roy skyline
  6   (the “P-6 logo”).
  7         8.     In the more than forty years since Patagonia, Inc.’s business started,
  8   the PATAGONIA brand and its P-6 logo have become among the most identifiable
  9   brands in the world. Patagonia, Inc.’s products now include a wide range of apparel
 10   products and equipment, including technical products designed for climbing, skiing
 11   and snowboarding, surfing, fly fishing, and trail running, as well as sportswear,
 12   which are sold around the world.
 13         9.     Over the years, Patagonia, Inc. has been recognized and honored for
 14   its business initiatives, including receiving the Sustainable Business Counsel’s first
 15   “Lifetime Achievement Award.” In 1996, with an increased awareness of the
 16   dangers of pesticide use and synthetic fertilizers used in conventional cotton
 17   growing, Patagonia, Inc. began the exclusive use of organically grown cotton and
 18   has continued that use for more than twenty years. It was a founding member of
 19   the Fair Labor Association®, which is an independent multi-stakeholder verification
 20   and training organization that audits apparel factories. Additionally, since 1985
 21   Patagonia, Inc. has pledged 1% of sales to environmental groups to preserve and
 22   restore our natural environment, donating more than $100 million to date. In 2002,
 23   Patagonia, Inc.’s founder, Yvon Chouinard, along with others, created a non-profit
 24   called 1% For the Planet® to encourage other businesses to do the same. Today,
 25   more than 1200 member companies have donated more than $150 million to more
 26   than 3,300 nonprofits through 1% For the Planet. In 2012, Patagonia, Inc. became
 27   one of California’s first registered Benefit Corporations, ensuring Patagonia, Inc.
 28   could codify into its corporate charter consideration of its workers, community,

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  1   and the environment. In 2016, Patagonia, Inc. pledged to donate all revenue from
  2   sales on Black Friday, donating $10 million to environmental grantees in response
  3   to customers’ purchases on that day. In 2018, Patagonia, Inc. pledged an additional
  4   $10 million in grants to environmental groups in response to recent tax cuts given
  5   to businesses.
  6         10.    Patagonia Provisions, Inc. is a California corporation headquartered
  7   at 259 West Santa Clara Street, Ventura, California 93001. For several years,
  8   Provisions has developed, marketed, and sold socially and environmentally
  9   responsible food items under the PATAGONIA PROVISIONS® Mark, including
 10   beer, buffalo jerky, salmon, fruit and almond bars, and soup mixes. Patagonia and
 11   Provisions are related companies.
 12         11.    Anheuser-Busch, LLC (“AB”) is a limited liability company that,
 13   in its corporate filings, alleges its principal place of business is One Busch Place,
 14   St. Louis, Missouri 63118. AB is a global producer of beer and other products and
 15   services under a multitude of brands. Patagonia is informed and believes that AB
 16   maintains a sophisticated department of trademark attorneys and an array of outside
 17   counsel to procure, maintain, and enforce these brands and trademarks. Although
 18   the primary products sold by AB are beers, AB and, on information and belief, its
 19   parent corporation, Anheuser-Busch Inbev S.A., use and maintain trademarks for
 20   additional products categories, including for apparel under the STELLA ARTOIS,
 21   HOEGAARDEN, and LEFFE marks, among others, and for educational and
 22   charitable services under the OCTOBER, LA SAVOIR, and THE SIMPLE
 23   COMPLEXITIES OF BEER brands. Among its brands is AB’s PATAGONIA beer,
 24   newly launched in the United States. Though AB has not made any effort to obtain
 25   a PATAGONIA registration for apparel products or educational or charitable
 26   services—presumably because it knows such applications would be futile in light
 27   of Patagonia’s broad rights—AB is also producing and distributing such products
 28   and services.

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  1           12.    Patagonia Brewing Company is, on information and belief, a
  2   fictitious business name registered by AB in July 2018, shortly before its launch
  3   of PATAGONIA beer in the United States. Patagonia is informed and believes
  4   that AB registered the name so that, in addition to using PATAGONIA as a mark,
  5   it could identify itself to consumers as an entity named Patagonia (see, for example,
  6   the copyright ownership claim for AB’s packaging below), enhancing the likelihood
  7   that consumers will associate AB’s beer with Plaintiffs, and not with a multinational
  8   conglomerate.
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 12           13.    Patagonia’s trademark claims arise under the Trademark Act of 1946
 13   (the Lanham Act), as amended by the Trademark Dilution Revision Act of 2006.
 14   This Court has jurisdiction over such claims pursuant to 28 U.S.C. §§ 1338(a) and
 15   1338(b) (trademark and unfair competition), 28 U.S.C. § 1331 (federal question),
 16   and 15 U.S.C. § 1121 (Lanham Act). This Court has jurisdiction over the state law
 17   claims under 28 U.S.C. § 1367 (supplemental jurisdiction) and, because the claims
 18   involve more than $75,000 exclusive of interest and costs, 28 U.S.C. § 1332
 19   (diversity).
 20           14.    This Court has personal jurisdiction over AB because AB’s contacts
 21   with this forum are so pervasive and substantial that it is fair for AB to respond to
 22   a lawsuit here. In addition, AB is offering and promoting its relevant products and
 23   services to residents of this district through its website, where to buy locater, and
 24   through distributors and retailers who are selling or promoting the products and
 25   services to consumers in this district. Patagonia is informed and believes that
 26   AB knows Patagonia is located in this judicial district, and that Patagonia will
 27   suffer the harm from damage to its reputation and trademarks in this district.
 28   / / /

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  1         15.    Venue is proper in this Court under 28 U.S.C. § 1391(b) because AB
  2   transacts business in this district and a substantial part of the events giving rise to
  3   the claims asserted arose in this district.
  4           AB Unlawfully Obtained the PATAGONIA Registration for Beer
  5         16.    AB purports to own U.S. Trademark Registration No. 4,226,102. That
  6   registration issued from an intent to use application originally filed by Warsteiner
  7   Importers Agency, Inc. (“Warsteiner”), a German brewer and, on information and
  8   belief, competitor of AB. Patagonia is informed and believes that the registration
  9   was procured unlawfully and through fraudulent misrepresentations to the
 10   Trademark Office.
 11         17.    Plaintiffs’ investigation, to date, of AB’s unlawful acquisition of
 12   Warsteiner’s intent to use application reveals as follows:
 13         18.    On June 8, 2006, Warsteiner filed an “intent to use” application for
 14   PATAGONIA in International Class 32 for beer, declaring its bona fide intention
 15   to use the mark in interstate commerce.
 16         19.    On July 12, 2006, Warsteiner petitioned to cancel a then-existing
 17   United States registration for PATAGONIA for beer belonging to Cerveceria Y
 18   Malteria Quilmes S.A.I.C.A.G. (“Quilmes”). The U.S. Patent and Trademark Office
 19   (“Trademark Office”) cancelled the Quilmes registration on November 17, 2006.
 20         20.    On January 1, 2007, AB acquired a Luxembourg-based holding
 21   company that controlled 93% of Quilmes International, which owned the Argentine
 22   Quilmes entity that previously owned the United States trademark registration for
 23   PATAGONIA that Warsteiner had cancelled one month earlier for non-use.
 24         21.    On July 21, 2009, after opposition proceedings from a third party, the
 25   Notice of Allowance for Warsteiner’s intent to use application was issued, inviting
 26   Warsteiner to secure its registration by showing commercial use of the mark.
 27         22.    On January 18, 2010, Warsteiner requested an extension of time to file
 28   its statement of use. For the next two years there was no activity on Warsteiner’s

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   1   intent to use application, except that it filed similar extensions every six months to
   2   keep the application alive. On January 5, 2012, Warsteiner filed its fifth and final
   3   permissible extension to show use, which was set to expire July 21, 2012.
   4           23.   On May 14, 2012, two trademark attorneys employed by AB
   5   substituted in as the correspondents and attorneys of record, representing Warsteiner
   6   in the proceeding involving its intent to use application.
   7           24.   At the same time that AB’s lawyer took over Warsteiner’s trademark
   8   application, AB submitted labels to the Alcohol and Tobacco Tax and Trade Bureau
   9   (TTB) for Certification of Label Approval (COLA), a prerequisite to selling beer in
  10   the United States. On July 17, 2012, four days before Warsteiner’s intent to use
  11   application was set to fall abandoned for failure to use the mark, AB’s attorney filed
  12   a statement of use on behalf of Warsteiner, showing a single bottle as a specimen
  13   that used the same “Patagonia” label that AB had recently submitted to the TTB for
  14   approval. The label used for both AB’s COLA Application and Warsteiner’s
  15   statement of use are shown below.
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   1                 AB’s COLA Filing                     Warsteiner’s Evidence of Use
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  15           25.    In the statement of use submitted to the Trademark Office, Warsteiner
  16   swore—through AB’s attorney—that this bottle of beer showed Warsteiner’s use of
  17   PATAGONIA in interstate commerce, and that it had first sold beer in the United
  18   States under the mark one day earlier, on July 16, 2012. But the statement was
  19   untrue because Warsteiner never used the PATAGONIA trademark on beer, and the
  20   statement of use filed by Warsteiner in the Trademark Office (prepared by AB) was
  21   false. AB knew the statement was false. In fact, it does not even appear that AB—
  22   the purported assignee of the application—used the mark. The COLA for the label
  23   that was used on the beer shown in the statement of use states that the beer was
  24   produced by Quilmes and imported by “Import Brands Alliance.” The specimen did
  25   not show this Quilmes beer in a commercial context, such as a store shelf. Instead,
  26   the specimen showed two photos of a single bottle of PATAGONIA-labeled beer on
  27   a table in a white-walled room.
  28   / / /

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   1         26.    On October 16, 2012, Warsteiner’s purported trademark registration
   2   for PATAGONIA was issued by the Trademark Office in reliance on Warsteiner’s
   3   statement that it had used the Mark in interstate commerce in the U.S.
   4         27.    On February 8, 2013, AB’s lawyer recorded that Warsteiner
   5   had assigned the registration to AB. A “corrected” assignment was filed on
   6   February 22, 2013. The document verifying the assignment states it “assigns …
   7   all right, title, in and to the PATAGONIA Application and Mark, together with the
   8   goodwill of the business symbolized by the PATAGONIA mark and any resulting
   9   registration,” revealing that the assignment was drafted and effective before any
  10   registration had issued:
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   1         28.    The date shown on the assignment document is months after
   2   registration of the mark and yet the assignment does not refer to the registration
   3   or the registration number. The date thus appears to have been falsely stated to
   4   disguise the true date of the assignment which preceded the statement of use.
   5         29.    Intent to use trademark applications cannot be assigned unless the
   6   assignor also transfers the existing business unit which owns the application and
   7   goodwill associated with the mark (which only can be created through use).
   8   Warsteiner never became part of AB as part of this transaction; indeed, Warsteiner
   9   continues to exist as an independent entity to this day. Knowing that Warsteiner
  10   could not lawfully assign the intent to use trademark application to AB, and
  11   knowing that Warsteiner could not show the use needed to obtain the trademark
  12   registration, AB and Warsteiner colluded through their knowingly false representa-
  13   tions to deceive the Trademark Office—seeking to show that Warsteiner was
  14   responsible for commercial use of the PATAGONIA beer shown in the statement
  15   of use. While the ostensible reason for this collusion is not reflected in the public
  16   record, the only purpose for AB’s attorney to have appeared before the Trademark
  17   Office on behalf of its competitor, Warsteiner, was to afford AB with control over
  18   the nature of the deceptive statements made to Trademark Office. The only purpose
  19   for filing a false statement of use on Warsteiner’s behalf—based on purported sales
  20   of Quilmes-produced beer to Import Brands Alliance —was to create the illusion
  21   within the Trademark Office that Warsteiner was entitled to perfect its registration,
  22   while Warsteiner’s assignment of the application remained undisclosed and
  23   disguised. Absent this subterfuge, the Trademark Office would have deemed
  24   Warsteiner’s application abandoned.
  25                              AB’s False Section 8 & 15 Filing
  26         30.    After obtaining the PATAGONIA registration, Patagonia is informed
  27   and believes that AB made no bona fide commercial use of the mark in the United
  28   States until its recent campaign. Indeed, the use complained of in this complaint is

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   1   AB’s first bona fide use of the PATAGONIA mark in the United States, more than
   2   six years after the registration issued.
   3         31.    Despite this, on October 5, 2018, AB made the following sworn
   4   statement to the Trademark Office, to renew and preserve its registration: “The
   5   mark has been in continuous use in commerce for five consecutive years after the
   6   date of registration … and is still in use in commerce on or in connection with all
   7   goods/services.” The filing itself warned AB that any willfully false statement
   8   would jeopardize the validity of the trademark registration.
   9         32.    AB’s current press releases and promotional statements—together with
  10   its disclosures in its public filings—indicate that AB made no bona fide commercial
  11   use of its unlawful PATAGONIA trademark in the five years following issuance
  12   of the registration, and contradict AB’s sworn statement to the Trademark Office.
  13   AB’s annual reports up to and including the 2017 report identify PATAGONIA as
  14   a “local craft brand” in the “Latin America South” category. The brand is only
  15   mentioned once in the company’s 2016 report, together with dozens of other beers
  16   under a lengthy list of “Local Brands” in the report’s trademark notice. Similarly,
  17   in 2015, the brand is described as only available in the Latin America South market,
  18   and even within that market, distinguished from “global brands” such as Corona and
  19   Stella Artois, and “international brands” Hoegaarden and Leffe.
  20         33.    The February 28, 2019, press release announcing AB’s 2018 financial
  21   results stated that AB is “identifying opportunities to introduce existing brands into
  22   new markets. Examples of this practice include Argentina’s Patagonia in certain
  23   regions of the U.S. …” (emphasis added).
  24         34.    AB’s recent promotional statements follow suit. A Beer Business
  25   Daily trade journal article in which Harry Lewis, AB’s Vice President of New
  26   Brands, is heavily quoted, explains that AB “quietly began testing” the
  27   PATAGONIA beer “stateside” in 2018, and more recently launched a “pilot
  28   program” in Colorado.

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   1           35.   The net effect of Warsteiner’s intent to use application, the mis-
   2   reported assignment to AB, and AB’s covert maintenance of the registration while
   3   it waited for the additional protections provided by the five-year renewal filing
   4   follow: AB effectively reserved the PATAGONIA trademark for more than a
   5   decade before the mark appears genuinely to have been used in conjunction
   6   with AB’s recent launch of its PATAGONIA-branded beer. During this interval,
   7   Provisions’ own application to register the mark PATAGONIA PROVISIONS for
   8   wine was refused, partly on the strength of Warsteiner’s trademark, then owned
   9   by AB. The registration continues to harm Plaintiffs, including because AB has
  10   cautioned Patagonia against using Plaintiffs’ PATAGONIA trademark in connection
  11   with beer on the strength of AB’s supposed rights in its registration.
  12                              The PATAGONIA Trademarks
  13           36.   Plaintiffs own numerous registrations for and including the
  14   PATAGONIA trademark and P-6 logo, both together and alone, and the
  15   PATAGONIA PROVISIONS trademark, for a wide-ranging assortment of products
  16   and services. Among these are the following U.S. trademark registrations:
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                                      Reg. No. /                                       Date of
  18    Trademark                     Reg. Date           Goods                        First Use
  19                                  1189402 /           Men’s and Women’s            08/1974
                                      Feb. 9, 1982        Clothing – Namely,
  20                                                      Sweaters, Rugby Shirts,
        PATAGONIA                                         Walking Shorts,
  21                                                      Trousers, Jackets,
                                                          Mittens, Hoods, and
  22                                                      Rainwear.
  23                                  1294523 /           Men’s, Women’s, and          08/1974-
                                      Sept. 11, 1984      Children’s Clothing –        1981
  24                                                      Namely, Jackets, Pants,
                                                          Vests, Gloves,
  25                                                      Pullovers, Cardigans,
                                                          Socks, Sweaters,
  26                                                      Underwear, Shirts,
                                                          Shorts, Skirts, and Belts.
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  28   / / /

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   1                                  Reg. No. /                                      Date of
   2    Trademark                     Reg. Date           Goods                       First Use

   3                                  1547469 /           Men’s, Women’s, and         08/1974
                                      July 11, 1989       Children’s Clothing –
   4                                                      Namely, Jackets, Pants,
                                                          Shirts, Sweaters, Vests,
   5                                                      Skirts, Underwear Tops
                                                          and Bottoms, Socks,
   6                                                      Gloves, Mittens, Hats,
                                                          Face Masks, Balaclava,
   7                                                      Gaiters, and Belts.

   8                                  1775623 /           Luggage, Back Packs,        08/1988
                                      June 8, 1993        and All-Purpose Sports
   9                                                      Bags.

  10
  11
                                      1811334 /           Luggage, Back Packs,        08/1990
  12                                  Dec. 14, 1993       Fanny Packs, and All-
        PATAGONIA                                         Purpose Sport Bags,
  13                                                      Footwear, Ski Bags, and
                                                          Ski Gloves.
  14
                                      2260188 /           Computerized on-line       10/1995
  15                                  July 13, 1999       ordering activities in the
                                                          field of clothing and
  16                                                      accessories; providing
                                                          information in the field
  17                                                      of technical clothing and
        PATAGONIA                                         accessories for use in
  18                                                      recreational, sporting,
                                                          and leisure activities;
  19                                                      providing information in
                                                          the field of existing and
  20                                                      evolving environmental
                                                          issues.
  21
                                      2392685 /           On-line retail store and    10/1995
  22                                  Oct. 10, 2000       mail order services
                                                          featuring technical
  23                                                      clothing, footwear, and
        PATAGONIA.COM                                     accessories; computer
  24                                                      services in the nature of
                                                          on-line information
  25                                                      related to the
                                                          environment and
  26                                                      clothing.
  27   / / /
  28   / / /

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   1                                  Reg. No. /                                      Date of
   2    Trademark                     Reg. Date           Goods                       First Use

   3                                  2662619 /           Retail store services       06/1986
                                      Dec. 17, 2002       featuring clothing,
   4    PATAGONIA                                         footwear, luggage, and a
                                                          wide variety of sporting
   5                                                      goods and accessories.

   6    PATAGONIA                     4894914 /           Salmon, not live.           08/2013
        PROVISIONS                    Feb. 2, 2012
   7    (owned by Provisions)

   8    PATAGONIA                     4168329 /           Salmon jerky.               04/2012
        PROVISIONS                    July 3, 2012
   9    (owned by Provisions)

  10    PATAGONIA                     4,786,172 /         Mugs all for use in         09/2014
        PROVISIONS                    Aug. 4, 2015        camping and outdoor
  11    (owned by Provisions)                             events; mugs used to
                                                          keep food and drink
  12                                                      cold, drink bottles sold
                                                          empty; camping gear
  13                                                      dinnerware and
                                                          cookware, namely, pots.
  14    PATAGONIA                     4,795,759 /         Tsampa (Tibetan             09/2014
  15    PROVISIONS                    Aug. 18, 2015       porridge) and mixes
        (owned by Provisions)                             for making tsampa
  16                                                      comprising processed
                                                          roasted grains.
  17    PATAGONIA                     4,809,079 /         Snack bars containing       09/2014
  18    PROVISIONS                    Sept. 8, 2015       primarily dried fruit and
        (owned by Provisions)                             nuts; mixes for making
  19                                                      soup comprising roasted
                                                          grains, flour, olive oil,
  20                                                      and spices; soup mixes.

  21    PATAGONIA                     4822430/            Bison jerky, buffalo        08/2015
        PROVISIONS                    Sept. 29, 2015      jerky.
  22    (owned by Provisions)

  23    PATAGONIA                     4917049 /           Online retail store         11/2013
        PROVISIONS                    Mar. 15, 2016       services featuring food,
  24    (owned by Provisions)                             namely, bison jerky,
                                                          buffalo jerky, salmon
  25                                                      jerky, snack bars
                                                          containing primarily
  26                                                      dried fruit and nuts,
                                                          mixes for making soup
  27                                                      comprising roasted
                                                          grains, flour, olive oil
  28                                                      and spices; providing


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   1                                  Reg. No. /                                      Date of
   2    Trademark                     Reg. Date           Goods                       First Use

   3                                                      current events news
                                                          related to topics of
   4                                                      general interest; provid-
                                                          ing on-line publications
   5                                                      in the nature of
                                                          periodical columns
   6                                                      and blogs in the field of
                                                          food, recipes, lifestyle,
   7                                                      the environment, and
                                                          topics of general
   8                                                      interest; providing
                                                          information, news and
   9                                                      commentary related to
                                                          recipes; providing
  10                                                      information, news, and
                                                          commentary regarding
  11                                                      food, namely,
                                                          information, news, and
  12                                                      commentary related to
                                                          cooking food (among
  13                                                      others).

  14    PATAGONIA WORKS 4791042 /                         capital investment        05/2013
                        Aug. 11, 2015                     services for research and
  15                                                      development projects;
                                                          providing grants and
  16                                                      seed money to
                                                          environmentally and
  17                                                      socially conscious
                                                          companies and projects
  18
  19         37.    These registrations are in full force and effect. Many have become
  20   incontestable under 15 U.S.C. § 1065. Plaintiffs also have common law rights
  21   in their trademarks covering other apparel and food products, and charitable and
  22   educational services in a broad array of environmental issues, including agricultural
  23   issues related to the food and grain supply chain.
  24         38.    For example, the Provisions website explains the process and benefits
  25   related to brewing beer with a perennial grain called Kernza®. Kernza is a grain
  26   with long roots and perennial growth that allow it to thrive without tilling or pesti-
  27   cides; it uses less water than conventional wheat, prevents erosion, and removes
  28   more carbon from the atmosphere than annual grains. Provisions, since 2013,


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   1   has, in collaboration with others, produced beer and educated consumers about the
   2   importance to the environment of the agricultural choices made in producing beer.
   3   For example, Provisions reports regarding its LONG ROOT ALE products:
   4                We believe the future of farming—and our planet—lies
   5                in something called organic regenerative agriculture.
   6                Organic regenerative agriculture restores soil biodiversity,
   7                sequesters carbon, and efficiently grows crops without
   8                chemical fertilizers or pesticides. Researchers at the Rodale
   9                Institute have found that a switch to organic regenerative
  10                techniques could actually store enough carbon in the soil
  11                to reverse global climate change.
  12         39.    Collectively, when referring to marks owned by Patagonia or
  13   Provisions, these marks, including Plaintiffs’ registered trademarks and their
  14   common law marks, are referred to as the “PATAGONIA” brand or trademarks.
  15   The PATAGONIA trademarks are distinctive, arbitrary, and fanciful, entitled to
  16   the broadest scope of protection, and certain of the PATAGONIA trademarks are
  17   registered in ninety countries.
  18         40.    For many years prior to the events giving rise to this Complaint
  19   and continuing to the present, Plaintiffs annually have spent enormous amounts
  20   of time, money, and effort advertising and promoting the products and services on
  21   which their PATAGONIA trademarks are used. PATAGONIA brand products are
  22   advertised in print and on the Internet. In addition to advertising by Plaintiffs, the
  23   PATAGONIA trademarks are also advertised and promoted and presented at point
  24   of sale by numerous retailers. Consumers, accordingly, are exposed to the
  25   PATAGONIA trademarks in a variety of shopping and post-sale contexts.
  26         41.    Plaintiffs have sold their PATAGONIA brand products all over
  27   the world, including throughout the United States and California. Through their
  28   promotion and investment in the PATAGONIA brand—combined with extensive

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   1   sales, publicity, awards, and leadership in sustainable sourcing practices—Plaintiffs
   2   have acquired enormous goodwill in their PATAGONIA trademarks.
   3           42.   When used as a brand, source identifier, trade name, or as the name
   4   of an institution or product, the term PATAGONIA uniquely and unmistakably
   5   identifies Patagonia, Inc. in the minds of United States consumers, and has operated
   6   in this fashion since well before (a) the PTO issued U.S. Trademark Registration
   7   No. 4,226,102, or (b) AB began marketing and selling a PATAGONIA beer.
   8   Patagonia, Inc. is identified by the public as “Patagonia”, and consumers assume
   9   and understand that products, including beer, marketed under the name refer directly
  10   to Patagonia, Inc.
  11           43.   The PATAGONIA mark is famous within the meaning of the
  12   Trademark Dilution Revision Act, and has been since long before AB began
  13   selling PATAGONIA beer in the United States. The mark enjoys strong consumer
  14   recognition, is used as a household term to refer to Patagonia or its products, and
  15   is recognized around the world and throughout the United States by consumers as
  16   signifying high quality products and services from a responsible company.
  17           AB’s Infringement and Dilution of Patagonia’s Trademark Rights
  18           44.   Consistent with the comments from AB’s Vice President of New
  19   Brands, quoted above, AB recently has launched its PATAGONIA branded beer
  20   in various U.S. markets. AB has surrounded its promotion of the beer products
  21   with PATAGONIA branded apparel and a plant-a-tree initiative in an attempt
  22   to draw upon the same associations that consumers have with Patagonia’s
  23   PATAGONIA brand.
  24           45.   As described above, AB made token use, if any, of the PATAGONIA
  25   beer prior to the U.S. launch of the brand in late 2018. AB has not accumulated any
  26   trademark rights by way of this token use, and will not, unless consumers come to
  27   secondarily associate PATAGONIA beer exclusively with AB.
  28   / / /

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   1         46.    When it launched PATAGONIA beer, AB modified the neck label
   2   to create a new “housemark” for its products consisting of a mountain silhouette
   3   above the PATAGONIA name (defined above as “AB’s PATAGONIA logo”). This
   4   mimics Patagonia’s P-6 logo and reinforces consumers’ associations between AB’s
   5   PATAGONIA beer and Patagonia. The new label is being used on billboards, signs,
   6   apparel, packaging, and advertisements. On the billboard below, this new label is
   7   used in an advertisement “introducing” the product and pairing this introduction
   8   with the slogan “you buy a case, we plant a tree”:
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  19         47.    Southern Eagle Distributing now has AB’s PATAGONIA Cerveza on
  20   its website, introducing the U.S. launch of this beer with no indication it has been
  21   used continuously for the last six years: “Originally from the Patagonia region in
  22   South America, they’ve decided to start their next adventure in the U.S.”
  23         48.    In a January 2019 interview, AB’s Chief U.S. Sales Officer, Brendan
  24   Whitworth, stated “AB InBev owns a brand in Argentina called Patagonia which
  25   research indicated could have potential in the Colorado market,” again indicating
  26   AB had not previously sold the beer in the U.S.
  27         49.    In signage and packaging and in fictitious promotional names, AB has
  28   identified how its purported trademark registration for beer can be used to confuse

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   1   consumers and falsely suggest to consumers that they are referring with the mark
   2   directly to Patagonia, Inc. For example, AB announces “Patagonia’s ‘tree positive’
   3   mission,” referring to its new beer brand and to a “Patagonia” entity, all at once
   4   usurping Patagonia’s famous mark and its corporate identity, and again using AB’s
   5   PATAGONIA logo as a “housemark.”
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  21         50.    Similarly, AB has decided to call the fictitious producer of Patagonia
  22   beer, even though it is now brewed at AB’s Fairfield California brewery, “Patagonia
  23   Brewing Co.” These references further illustrate how the trademark can be and has
  24   been used by AB to signal to consumers that they are dealing with Patagonia, the
  25   entity that produces other PATAGONIA branded products and services.
  26         51.    The same “housemark” was used on a variety of apparel products
  27   that AB representatives were wearing and distributing to consumers in a recent
  28   promotion. Side by side comparisons of the parties’ respective marks in use follow.

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  18         52.    There is no question that AB at all times was well aware of Patagonia’s
  19   prior rights, or that it is now using this array of promotional tools to try and capture
  20   Patagonia’s hard-earned goodwill and corporate identity for itself. AB has
  21   surrounded its launch of PATAGONIA beer and Patagonia Brewing Co. with the
  22   goods and services, including apparel and sustainability, that are most responsible
  23   for making Patagonia’s brand and corporate identity famous. If there were any
  24   question remaining that AB intends to draft on Patagonia’s reputation and consumer
  25   associations with its brand, an AB representative recently contacted Provisions
  26   seeking an “interview” about the Kernza grain use in Provisions’ Long Root Ale.
  27         53.    Consumers’ longstanding association of the PATAGONIA brand
  28   with Patagonia will likely be substantially diminished and eroded if AB continues

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   1   to use Patagonia’s brand and corporate identity to identify, promote and market
   2   AB’s products. Further, consumers will doubtless acquire negative associations
   3   with the PATAGONIA brand and Patagonia itself from discovering the truth behind
   4   AB’s pretense that PATAGONIA beer is made in California by Patagonia Brewing
   5   Co., rather than by one of the largest beer producers in the world. Even if con-
   6   sumers come away from AB’s products with a positive experience, Patagonia’s
   7   famous brand and right to control and promote its identity will be eroded and
   8   diminished by AB’s use of the PATAGONIA trademark.
   9                                     Harm to Patagonia
  10         54.    AB’s activities have caused consumer confusion in the marketplace.
  11   Consumers have, for example, attributed AB’s PATAGONIA beer to Plaintiffs,
  12   causing a range of damages including depriving Plaintiffs of their right to control
  13   their corporate identify and the reputation associated with their brands and marks.
  14   On information and belief, AB intended this outcome when it tailored its launch
  15   of the PATAGONIA beer to target Patagonia’s consumers.
  16         55.    AB’s actions have caused and will cause irreparable harm to Plaintiffs
  17   for which money damages and other remedies are inadequate. Unless AB is
  18   restrained by this Court, it will continue to cause irreparable damage and injury
  19   to Plaintiffs by, among other things:
  20                a.     Depriving Plaintiffs of their statutory rights to obtain
  21         registrations for, use, and control use of their trademarks;
  22                b.     Creating a likelihood of confusion, mistake, and deception
  23         among consumers and the trade as to the source of the infringing
  24         products and services, including beer, apparel, sustainability education,
  25         and charitable environmental programs;
  26                c.     Creating a likelihood of confusion among potential
  27         partners with whom Plaintiffs have or may produce beer products,
  28         about a Patagonia or Patagonia Provisions partnership with AB, such

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   1           that Plaintiffs’ ability to secure the services of or collaborate with high
   2           quality craft brewers is diminished or eliminated;
   3                 d.     Causing the public falsely to associate Plaintiffs with AB
   4           and/or its products, or vice versa;
   5                 e.     Causing the public to associate AB’s PATAGONIA
   6           branded beer with Patagonia, compromising Patagonia’s right to
   7           control its own image and right of promotion;
   8                 f.     Causing incalculable and irreparable damage to Plaintiffs’
   9           goodwill and diluting the capacity of the famous PATAGONIA trade-
  10           mark to differentiate its products from those of its competitors;
  11                 g.     Causing incalculable and irreparable damage to
  12           Patagonia’s famous PATAGONIA trademark by creating negative
  13           associations with AB’s PATAGONIA beer products, apparel products,
  14           and sustainability and philanthropic programs;
  15                 h.     Causing Plaintiffs to lose sales of their genuine
  16           PATAGONIA brand products and services; and
  17                 i.     Causing AB to capture profits, premiums and goodwill
  18           that are only available due to its exploitation of the PATAGONIA
  19           brand, all to the detriment of deceived consumers and Patagonia.
  20   Accordingly, in addition to damages and recovery of AB’s profits, Plaintiffs are
  21   entitled to injunctive relief against AB and all persons acting in concert with it.
  22                                        FIRST CLAIM
  23                      FEDERAL TRADEMARK INFRINGEMENT
  24                                   (15 U.S.C. §§ 1114-1117)
  25           56.   Plaintiffs reallege and incorporate by reference each of the allegations
  26   contained in paragraphs 1 through 55 of this Amended Complaint as if fully set forth
  27   here.
  28   / / /

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   1         57.    AB has used—in connection with the sale, offering for sale, distribu-
   2   tion, or advertising of its apparel products—words and symbols that infringe upon
   3   Plaintiffs’ registered trademarks, including the PATAGONIA trademark and the
   4   P-6 logo.
   5         58.    AB’s use of the registered PATAGONIA trademarks on apparel creates
   6   a likelihood of consumer confusion that AB is authorized to produce and distribute
   7   PATAGONIA products, or is associated or affiliated with Patagonia, when it is not.
   8         59.    These acts of trademark infringement have been committed deliberately
   9   and with the intent to cause confusion, mistake, or deception, and are in violation of
  10   15 U.S.C. § 1114.
  11         60.    As a direct and proximate result of AB’s conduct, Plaintiffs are entitled
  12   to recover up to treble the amount of AB’s unlawful profits and Plaintiffs’ damages,
  13   and an award of attorneys’ fees under 15 U.S.C. §§ 1117(a).
  14         61.    Plaintiffs and the public will suffer irreparable harm if AB’s infringe-
  15   ments continue. Therefore, Plaintiffs are entitled to injunctive relief pursuant to
  16   15 U.S.C. § 1116(a) that requires AB to stop use of Plaintiffs’ registered trademarks
  17   on apparel and to stop using any other mark or design that creates likely confusion
  18   that AB is authorized to produce or distribute PATAGONIA brand products, or that
  19   there is any affiliation between Plaintiffs and AB.
  20                                      SECOND CLAIM
  21                          FEDERAL UNFAIR COMPETITION
  22                   (False Designation of Origin and False Description)
  23                                    (15 U.S.C. § 1125(a))
  24         62.    Plaintiffs reallege and incorporate by reference each of the allegations
  25   contained in paragraphs 1 through 61 of this Amended Complaint.
  26         63.    AB’s conduct as alleged in this Complaint constitutes the use of
  27   symbols or devices tending falsely to describe the infringing products and services,
  28   including on beer, apparel, educational, and charitable and philanthropic goods and

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   1   services within the meaning of 15 U.S.C. § 1125(a). AB’s conduct is likely to cause
   2   confusion, mistake, or deception by or in the public as to the affiliation, connection,
   3   association, origin, sponsorship, or approval of the infringing products and services
   4   to the detriment of Plaintiffs and the PATAGONIA trademarks, and in violation of
   5   15 U.S.C. § 1125(a).
   6         64.    As a direct and proximate result of AB’s conduct, Plaintiffs are entitled
   7   to recover up to treble the amount of AB’s unlawful profits and Plaintiffs’ damages,
   8   and an award of attorneys’ fees under 15 U.S.C. § 1117(a).
   9         65.    Plaintiffs and the public will suffer irreparable harm if AB’s infringe-
  10   ments continue. Therefore, Plaintiffs are entitled to an injunction pursuant to
  11   15 U.S.C. § 1116(a) that requires AB to stop use of PATAGONIA on any good or
  12   service and to stop using any other mark or design that creates likely confusion that
  13   AB is authorized or sponsored by Plaintiffs or to use the PATAGONIA brand.
  14                                       THIRD CLAIM
  15                      FEDERAL DILUTION OF FAMOUS MARK
  16            (Trademark Dilution Revision Act of 2006, 15 U.S.C. § 1125(c))
  17         66.    Patagonia realleges and incorporates by reference each of the
  18   allegations contained in paragraphs 1 through 65 of this Amended Complaint.
  19         67.    Patagonia’s PATAGONIA word mark is distinctive and famous within
  20   the meaning of the Trademark Dilution Revision Act of 2006, 15 U.S.C. § 1125(c),
  21   in that it is a household brand in the United States, and was famous prior to AB’s
  22   adoption of the trademarks.
  23         68.    AB’s conduct is likely to cause dilution of Patagonia’s PATAGONIA
  24   word mark by diminishing its distinctiveness and by disparaging Patagonia and the
  25   PATAGONIA word mark in violation of the Trademark Dilution Revision Act of
  26   2006, 15 U.S.C. § 1125(c).
  27         69.    AB’s conduct was deliberate, systematic, and willful, including in
  28   taking improper steps to acquire Warsteiner’s intent to use trademark application

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   1   for PATAGONIA and then to coopt Patagonia’s identity when it launched the
   2   brand.
   3            70.    As a direct and proximate result of AB’s willful conduct, Patagonia is
   4   entitled to recover up to treble the amount of AB’s unlawful profits and Patagonia’s
   5   damages, and an award of attorneys’ fees under 15 U.S.C. §§ 1116(a), 1117(a), and
   6   1125(c).
   7            71.    Patagonia and the public will suffer irreparable harm if AB’s dilution
   8   of the famous PATAGONIA word mark continues and Patagonia is entitled to an
   9   injunction pursuant to 15 U.S.C. §§ 1116(a) and 1125(c) that requires AB to stop
  10   use of any PATAGONIA marks and any other mark or design that diminishes or
  11   disparages the PATAGONIA word mark or diminishes the association consumers
  12   have between Patagonia and the PATAGONIA word mark.
  13                                       FOURTH CLAIM
  14           TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION
  15                        UNDER CALIFORNIA STATUTORY LAW
  16                  (Cal. Bus. & Prof. Code §§ 14320, 14335, and 17200 et seq.)
  17            72.    Plaintiffs reallege and incorporate by reference each of the allegations
  18   contained in paragraphs 1 through 71 of this Amended Complaint.
  19            73.    Plaintiffs are the owners of numerous registrations as well as common
  20   law rights for the PATAGONIA trademarks.
  21            74.    To enhance the commercial value of its offerings, AB has used the
  22   PATAGONIA trademarks on its beer, apparel, educational, and charitable and
  23   philanthropic goods and services. AB’s conduct is likely to cause confusion,
  24   mistake, or deception by or in the public as to the affiliation, connection, associa-
  25   tion, origin, sponsorship, or approval of the infringing products and services to
  26   the detriment of Plaintiffs and the PATAGONIA trademarks, and in violation of
  27   California Business & Professions Code §§14320 et seq. and §§ 14335 et seq.
  28   / / /

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   1         75.    AB’s conduct also constitutes an “unlawful, unfair or fraudulent
   2   business act[s] or practice[s] and unfair, deceptive, untrue or misleading advertis-
   3   ing” within the meaning of California Business & Professions Code §§ 17200 et seq.
   4         76.    Plaintiffs are entitled to monetary and injunctive relief. The public and
   5   Plaintiffs will suffer irreparable harm if AB’s infringements continue. Therefore,
   6   Plaintiffs are entitled to an injunction that requires AB to stop use of any
   7   PATAGONIA trademarks and to stop using any other mark or design that is likely
   8   to cause confusion about the origin of products or services bearing the PATAGONIA
   9   trademarks or about whether Plaintiffs have sponsored or authorized AB in its use
  10   of the PATAGONIA mark.
  11         77.    Because AB’s actions have been committed willfully, maliciously, and
  12   intentionally, Patagonia is entitled to reasonable attorneys’ fees, and compensatory
  13   and punitive damages pursuant to California Business & Professions Code
  14   §§ 14320, 14330, and 14340.
  15                                       FIFTH CLAIM
  16               CANCELLATION OF TRADEMARK REGISTRATION
  17                                      (15 U.S.C. §1119)
  18         78.    Plaintiffs reallege and incorporate by reference each of the allegations
  19   contained in paragraphs 1 through 77 of this Amended Complaint.
  20         79.    Section 10(a) of the Lanham Act, 15 U.S.C. § 1060(a), provides in
  21   relevant part as follows:
  22                [N]o application to register a mark under section 1051(b)
  23                of this title shall be assignable prior to the filing of an
  24                amendment under section 1051(c) of this title to bring the
  25                application into conformity with section 1051(a) of this title
  26                or the filing of the verified statement of use under section
  27                1051(d) of this title, except for an assignment to a successor
  28                to the business of the applicant, or portion thereof, to which

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   1                the mark pertains ….
   2         80.    This means that Warsteiner could not assign the intent to use applica-
   3   tion to AB without selling Warsteiner Imports Agency, or the relevant part of it,
   4   to AB.
   5         81.    The transactional documents recorded in the Trademark Office confirm
   6   that Warsteiner made no such sale of any part of its business to AB and instead,
   7   solely in a pro-forma manner purported to assign to AB its non-existent goodwill
   8   in the PATAGONIA mark for beer. Section 10(a) of the act makes it clear that an
   9   assignment of so-called goodwill in an intent to use application is insufficient to
  10   support its assignment.
  11         82.    Because Warsteiner never made any use of the PATAGONIA trade-
  12   mark, the application was abandoned. To the extent that Warsteiner perfected the
  13   registration, it never used the trademark after the mark registered and has abandoned
  14   it. AB is not, by virtue of its disguised and unlawful acquisition of the registration,
  15   entitled to maintain the registration. AB is not, by virtue of its disguised and
  16   unlawful acquisition of the registration, a “registrant” within the meaning of the
  17   Lanham Act and is not entitled to the benefits of a “registrant.” AB, in any event,
  18   abandoned the registration after it was purportedly acquired and cannot, several
  19   years later, resurrect the abandoned registration. Accordingly, the Court should
  20   order Registration No. 4,226,102 to be cancelled and, pursuant to regulations,
  21   should address its certified order to the USPTO, Office of the Solicitor, Mail Stop 8,
  22   Director of the United States Patent and Trademark Office, P.O. Box 1450,
  23   Alexandria, Virginia 22313-1450.
  24                                       SIXTH CLAIM
  25               CANCELLATION OF TRADEMARK REGISTRATION
  26                                    (15 U.S.C. §§ 1052(a))
  27         83.    Plaintiffs reallege and incorporate by reference each of the allegations
  28   contained in paragraphs 1 through 82 of this Amended Complaint.

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   1           84.   The PATAGONIA mark and brand uniquely and unmistakably
   2   identifies Patagonia, Inc. in the minds of consumers, and, when used as a brand,
   3   source identifier, trade name, or as the name of an institution or product, has held
   4   such immediate significance for many years. Accordingly, the term PATAGONIA
   5   when applied to goods, including beer, refers to and identifies Patagonia, Inc.
   6           85.   Warsteiner applied to register—and AB now purports to own—
   7   Registration No. 4,226,102 for PATAGONIA, a mark that is identical to Patagonia,
   8   Inc.’s name and identity.
   9           86.   Plaintiffs have no connection with the products marketed and sold
  10   under Registration No. 4,226,102.
  11           87.   As a result of the fame and reputation of Patagonia, Inc.’s identity and
  12   name—including at the time that Registration No. 4,226,102 issued—consumers are
  13   and were likely immediately to associate AB’s use of PATAGONIA on beer with
  14   Patagonia, Inc.
  15           88.   The PATAGONIA mark covered by Registration No. 4,226,102 falsely
  16   suggests a connection with Patagonia, Inc., and suggested such a false connection at
  17   the time the registration issued. Because no mark that falsely suggests such a
  18   connection may be registered, pursuant to 15 U.S.C. §§ 1052(a) the Court should
  19   order Registration No. 4,226,102 to be cancelled and, pursuant to regulations,
  20   should address its certified order to the USPTO, Office of the Solicitor, Mail Stop 8,
  21   Director of the United States Patent and Trademark Office, P.O. Box 1450,
  22   Alexandria, Virginia 22313-1450.
  23                                     SEVENTH CLAIM
  24                 CANCELLATION OF TRADEMARK REGISTRATION
  25                                      (15 U.S.C. § 1119)
  26           89.   Plaintiffs reallege and incorporate by reference each of the allegations
  27   contained in paragraphs 1 through 88 of this Amended Complaint.
  28   / / /

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   1         90.     AB, when it assumed control over Warsteiner’s intent-to-use applica-
   2   tion, knew that Warsteiner never had used the PATAGONIA mark for beer, but
   3   nonetheless swore to the Trademark Office that Warsteiner had, in fact, made
   4   sufficient use in U.S. commerce to support a statement of use under 15 U.S.C.
   5   § 1051(d). AB also knowingly misrepresented to the Trademark Office the date
   6   when AB acquired Warsteiner’s purported rights. Had AB not made these false
   7   filings on Warsteiner’s behalf, intending to deceive, the Trademark Office would
   8   not have issued the registration.
   9         91.     AB already had engaged in a transaction with Warsteiner in which
  10   Warsteiner’s interest in the PATAGONIA trademark application had been sold
  11   or transferred to AB as of May 2012, when its attorneys substituted for the
  12   correspondent Warsteiner attorney. AB made further false statements to the
  13   Trademark Office when it continued to prosecute the application on Warsteiner’s
  14   ostensible behalf and stated later to the Trademark Office that the assignment to AB
  15   did not occur until after the registration was issued when, in fact, the improper
  16   assignment of the intent to use application already had occurred.
  17         92.     AB knew that its and Warsteiner’s statements to the Trademark Office
  18   were false, but made them with the intention to deceive the Trademark Office so
  19   that it would, unaware of the improper assignment and non-use by Warsteiner, issue
  20   the registration for PATAGONIA on beer. The Trademark Office acted in reliance
  21   on these fraudulent statements when it issued Registration No. 4,226,102 to
  22   Warsteiner.
  23         93.     Because AB and Warsteiner procured the registration by fraud, the
  24   registration must be cancelled. Accordingly, the Court should order Registration
  25   No. 4,226,102 to be cancelled and, pursuant to regulations, should address its
  26   certified order to the USPTO, Office of the Solicitor, Mail Stop 8, Director of the
  27   United States Patent and Trademark Office, P.O. Box 1450, Alexandria, Virginia
  28   22313-1450.

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   1                                      EIGHTH CLAIM
   2               RECTIFICATION OF TRADEMARK REGISTRATION
   3                                      (15 U.S.C. § 1119)
   4         94.    Plaintiffs reallege and incorporate by reference each of the allegations
   5   contained in paragraphs 1 through 93 of this Amended Complaint.
   6         95.    Plaintiffs are informed and believe that AB has not made genuine,
   7   continuous use of the PATAGONIA trademark for beer in interstate commerce
   8   over the past five years which is a prerequisite for incontestable status. Although
   9   AB knows it has not made bona fide use, AB filed statements of renewal and
  10   incontestability with the Trademark Office on October 5, 2018 which falsely
  11   reported that such use had been continuous since the date of registration.
  12         96.    Plaintiffs base these allegations on multiple published reports from AB
  13   to the effect that the PATAGONIA product line was being introduced or launched
  14   as of 2018, and by AB distributors who have stated that they expect to be receiving
  15   access to PATAGONIA beer soon.
  16         97.    An unlawfully acquired registration is not incontestable in the hands of
  17   the unlawful assignee. In addition, incontestability only operates in favor of
  18   “registrants” and AB is not, by virtue of its disguised and unlawful acquisition of the
  19   registration, a “registrant” within the meaning of the Lanham Act.
  20         98.    For all of these reasons, the Court should order rectification of
  21   Registration No. 4,226,102 by striking the affidavit of incontestability from the
  22   register. The Court, pursuant to regulations, should address its certified order to the
  23   USPTO, Office of the Solicitor, Mail Stop 8, Director of the United States Patent
  24   and Trademark Office, P.O. Box 1450, Alexandria, Virginia 22313-1450.
  25                                PRAYER FOR JUDGMENT
  26         WHEREFORE, Plaintiffs pray that this Court grant it the following relief:
  27         1.     Adjudge that the PATAGONIA trademarks have been infringed by
  28   AB in violation of Plaintiffs’ rights under 15 U.S.C. § 1114;

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   1         2.     Adjudge that the PATAGONIA trademarks have been infringed by
   2   AB in violation of California statutory law;
   3         3.     Adjudge that Plaintiffs’ common law rights in the PATAGONIA
   4   trademarks have been infringed;
   5         4.     Adjudge that AB has falsely described the source of its products and
   6   services in violation of Plaintiffs’ rights under 15 U.S.C. § 1125(a);
   7         5.     Adjudge that AB has competed unfairly with Plaintiffs in violation
   8   of California statutory law;
   9         6.     Adjudge that AB’s activities are likely to dilute Patagonia’s famous
  10   PATAGONIA trademark in violation of Patagonia’s rights under 15 U.S.C.
  11   § 1125(c);
  12         7.     Adjudge that AB and its agents, employees, attorneys, successors,
  13   assigns, affiliates, and joint venturers, and any person(s) in active concert or
  14   participation with it, and/or any person(s) acting for, with, by, through, or under it,
  15   be enjoined and restrained at first during the pendency of this action and thereafter
  16   permanently from:
  17                a.     Manufacturing, producing, sourcing, importing, selling,
  18         offering for sale, distributing, advertising, or promoting any goods or
  19         services that copy or display any words or symbols that so resemble
  20         Plaintiffs’ PATAGONIA trademarks as to be likely to cause confusion,
  21         mistake, or deception, on or in connection with any product or service
  22         that is not authorized by or for Plaintiffs, including, without limitation,
  23         any product or service that (i) bears the PATAGONIA trademarks,
  24         (ii) bears AB’s mountain silhouette logo, or (iii) otherwise
  25         approximates Plaintiffs’ trademarks;
  26                b.     Using any word, term, name, symbol, device, or
  27         combination that (i) causes or is likely to cause confusion, mistake, or
  28         deception as to the affiliation or association of AB or its products or

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   1          services with Plaintiffs, or as to the origin of AB’s products or services,
   2          (ii) contains any false designation of origin, false or misleading
   3          description or representation of fact, (iii) contains any false or
   4          misleading advertising, or (iv) causes likely dilution of the
   5          distinctiveness of the PATAGONIA trademark or degrades it;
   6                  c.     Further infringing the rights of Plaintiffs in and to their
   7          PATAGONIA trademark, or otherwise damaging Plaintiffs’ goodwill
   8          or business reputation;
   9                  d.     Further diluting the famous PATAGONIA trademark;
  10                  e.     Otherwise competing unfairly with Plaintiffs in any
  11          manner; or
  12                  f.     Continuing to perform in any manner whatsoever any of
  13          the other acts complained of in this Complaint;
  14          8.      Order that Registration No. 4,226,102 shall be cancelled and address
  15    its certified order to the USPTO, Office of the Solicitor, Mail Stop 8, Director of the
  16    United States Patent and Trademark Office, P.O. Box 1450, Alexandria, Virginia
  17    22313-1450;
  18          9.      Order that Registration No. 4,226,102 shall be rectified to strike AB’s
  19    statement of incontestability under section 15 of the Lanham Act, and address its
  20    certified order to the USPTO, Office of the Solicitor, Mail Stop 8, Director of the
  21    United States Patent and Trademark Office, P.O. Box 1450, Alexandria, Virginia
  22    22313-1450;
  23          10.     Adjudge that AB, within thirty (30) days after service of the Court’s
  24    judgment, be required to file with this Court and serve upon Patagonia’s counsel a
  25    written report under oath setting forth in detail the manner in which it has complied
  26    with the judgment;
  27          11.     Adjudge that Plaintiffs recover from AB its damages and lost profits,
  28    and AB’s profits, in an amount to be proven at trial;

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   1           12.   Adjudge that AB be required to account for any profits that are
   2    attributable to its illegal acts, and that Plaintiffs be awarded (1) AB’s profits and
   3    (2) all damages sustained by Plaintiffs, under 15 U.S.C. § 1117, plus prejudgment
   4    interest;
   5           13.   Adjudge that the amounts awarded to Plaintiffs pursuant to 15 U.S.C.
   6    § 1117 shall be trebled;
   7           14.   Adjudge that AB be obligated to pay punitive damages to Plaintiffs;
   8           15.   Adjudge that this is an exceptional case and that Plaintiffs be awarded
   9    its costs and disbursements incurred in connection with this action, including
  10    Plaintiffs’ reasonable attorneys’ fees and investigative expenses; and
  11           16.   Adjudge that all such other relief be awarded to Plaintiffs as this Court
  12    deems just and proper.
  13
  14    DATED: June 5, 2019                Respectfully submitted,
  15                                       KILPATRICK TOWNSEND & STOCKTON LLP
  16
  17                                       By: /s/ Gregory S. Gilchrist
                                               GREGORY S. GILCHRIST
  18                                           RYAN T. BRICKER
                                               SOPHY MANES
  19                                           ALEXANDRA N. MARTINEZ
  20                                       Attorneys for Plaintiffs
                                           PATAGONIA, INC. and
  21                                       PATAGONIA PROVISIONS, INC.
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   1                                 DEMAND FOR JURY TRIAL
   2            Plaintiffs Patagonia, Inc. and Patagonia Provisions, Inc. demand that this
   3    action be tried to a jury.
   4
   5    DATED: June 5, 2019                Respectfully submitted,
   6                                       KILPATRICK TOWNSEND & STOCKTON LLP
   7
   8                                       By: /s/ Gregory S. Gilchrist
                                               GREGORY S. GILCHRIST
   9                                           RYAN T. BRICKER
                                               SOPHY MANES
  10                                           ALEXANDRA N. MARTINEZ
  11                                       Attorneys for Plaintiffs
                                           PATAGONIA, INC. and
  12                                       PATAGONIA PROVISIONS, INC.
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